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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 DANIEL VANDERKODDE, et al.,                    )
                       Plaintiffs,              )
                                                )      No. 1:17-cv-203
 -v-                                            )
                                                )      Honorable Paul L. Maloney
 MARY JANE ELLIOTT, P.C., et al.,               )
                         Defendants.            )
                                                )

                                      JUDGMENT

       The Court concluded that it lacks subject-matter jurisdiction over all of the claims

 raised in the amended complaint. The claims are dismissed without prejudice. As required

 by Rule 58 of the Federal Rules of Civil Procedure, JUDGMENT ENTERS.

       THIS ACTION IS TERMINATED.

       IT IS SO ORDERED.

 Date: January 24, 2019                             /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge
